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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                             ANDERSON DIVISION

                                                     CIVIL ACTION NO.


POLY-MED, INC.,

        Plaintiff
                                                             COMPLAINT
v.                                                       (Jury Trial Demanded)
                                                              REDACTED
NOVUS SCIENTIFIC PTE. LTD.,
NOVUS SCIENTIFIC, INC. and
NOVUS SCIENTIFIC AB,

        Defendants




        Plaintiff, Poly-Med, Inc. brings this action against Defendants, Novus Scientific

Pte, Ltd., Novus Scientific, Inc. and Novus Scientific AB, for breach of contract, tortious

interference with contract, misappropriation of trade secrets in violation of S.C. Code §

39-8-10, et. seq. and engaging in unfair trade practices in violation of S.C. Code § 39-5­

10, et. seq. Some counts of this Complaint are pled in the alternative.


                                       The Parties

1. Poly-Med, Inc. ("POLY-MED") is a South Carolina corporation having a principal

     place of business at 6309 Highway 187, Anderson, South Carolina, 29625.


2. Upon information and belief, Novus Scientific Pte. Ltd. is a Singapore corporation

     with a principal place of business at Centennial Tower, Unit 42, Level 34, 3 Temasek

     Avenue, Singapore, 039190.
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3.   Upon information and belief, Novus Scientific, Inc. is a Delaware corporation with a

     principal place of business at 4445 Eastgate Mall, Suite 200, San Diego, CA 92121.


4. Upon information and belief, Novus Scientific AB is a Swedish corporation with a

     principal place of business at Virdings Alle 2, SE-754 50 Uppsala, Sweden. Novus

     Scientific Pte. Ltd., Novus Scientific, Inc. and Novus Scientific AB are collectively

     referred to as the "Novus Entities."


                                  Jurisdiction and Venue

5. The Court has personal jurisdiction over the Novus Entities because: (a) they all

     transact business in South Carolina, (b) Novus Scientific Pte. Ltd. or Novus

     Scientific, Inc. has entered into a contact with POLY-MED to be performed in whole

     or in part in South Carolina; and, (c) upon information and belief, Novus Scientific,

     Inc. and Novus Scientific AB are agents, alter egos, instrumentalities and conduits of

     Novus Scientific Pte. Ltd. with respect to the performance and breach of the contract.

     Moreover, one or more of the Novus Entities operates a website accessible by South

     Carolina residents twenty-four hours per day. Novus Scientific, Inc. advertises its

     products to South Carolina residents through the website and, upon information and

     belief, in other ways.




                                               All of the Novus Entities are causing

     tortious injury to POLY-MED in South Carolina through misappropriation of POLY-

     MED's trade secrets and/or by tortiously interfering with POLY-MED's contract with

     Novus Scientific Pte. Ltd. or Novus Scientific, Inc.




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6. The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because there

     is complete diversity of citizenship between the parties and the value of the rights of

     the parties in dispute exceeds $75,000.00 exclusive of interest and costs.


7. Venue is proper pursuant to 28 U.S.C. § 1391(b).


                               Facts Common to All Counts

8.    POLY-MED designs, develops, and manufactures products and materials for use in

      medical, pharmaceutical and biotechnology applications.


9.    POLY-MED's work focuses primarily on bio-absorbable and biodegradable

      polymers.


10. POLY-MED has numerous trademarks and more than ninety patents and has

     successfully licensed and manufactured technologies found in many commercially

      available medical applications.


11. In addition to creating its own products and materials, POLY-MED offers

      manufacturing services and consulting, analytic and research and development

      services to a variety of firms in the medical, pharmaceutical and biotechnology

      industries.


12. Upon information and belief, in 2005, Radi Medical Systems AB ("RADI AB") was

      a corporation organized and existing under the laws of Sweden with a principal place

      of business at Palmbladsgatan 10, S-754 50 Uppsala, Sweden.


                                        The Agreement

13. On or about June 8, 2005, POLY-MED entered into a Sale of Materials and License

      Agreement (the "Agreement") with RADI AB.


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14. In or about December 2008, RADI AB assigned the Agreement to Novus Scientific

    Pte. Ltd. or Novus Scientific, Inc.


15. Upon information and belief, Novus Scientific AB is a wholly owned subsidiary of

    Novus Scientific Pte. Ltd. and Novus Scientific, Inc. is a wholly owned subsidiary of

    Novus Scientific AB.


16. Key employees and/or officers of RADI AB became key employees and/or officers

    of Novus Scientific Pte. Ltd., Novus Scientific, Inc. and/or Novus Scientific AB.


17. As a result of the December 2008 assignment, one of the Novus Entities substituted

    for RADI AB under the Agreement.


18. In the Agreement,   REDACTED




                                                                     Agreement, p. 1.


19. Under the terms of the Agreement, p^£Q^0~[~££Q




20. Under the Agreement,




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                    RED
                   ACTE
                   D



                                                 Agreement. § 1(f).


21. Under the Agreement,        D/\CD~T"E D




              Agreement. § 4(a).


22. According to the Agreement, p^£0^Q"]r£0



                                                             Agreement, § 1(b).


23. According to the Agreement, p^£0^Q"|~£0




                                                                         Agreement.

    § Kg).




* Since NOVUS is the operative party under the Agreement, references to RADI
AB in the quoted text of the Agreement are substituted with NOVUS for ease of
reference. The.current party to the Agreement, whether it be Novus Scientific
Pte. Ltd. or Novus Scientific, Inc., is hereinafter referred to as "NOVUS" for these
purposes. This is in spite of the fact that activities occurring prior to December
2008 were undertaken by RADI AB.

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24. Through the Agreement,




              Agreement, § 5.


25. Under the Agreement,   REDACTED

                 Agreement, § 1(h).


26. Under the Agreement,




                                      Agreement, § 6(c).


27. According to the Agreement,        QUOTED



                                                                    Agreement, §

    6(c).


28. According to the Agreement,




    Agreement, § 7(a).




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29. According to the Agreement, f^£Qy\Q"[~ED




                      Agreement, § 7(a).


30. According to the Agreement:


       REDACTED




    Agreement. § 8.


31. According to the Agreement,


       REDACTED




    Agreement, § 7(a).


32. According to the Agreement:




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       REDACTED




    Agreement, § 10.


33. Under the Agreement, PED/\0~TED




                                                  Agreement, § 1(c).


34. Pursuant to the terms of the Agreement,   REDACTED




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35.
      REDACTED

36.
      REDACTED




37. At all times relevant to this action, REDACT ED




38. At all times relevant to this action,   REDACTED



39. Pursuant to the Agreement,     REDACTED



40. Pursuant to the Agreement,     REDACTED




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41.
       REDACTED



          The Unauthorized Use, Manufacture, Distribution and Sale of Mesh

42. Sometime after assignment of the Agreement to Novus Scientific Pte. Ltd. or Novus

      Scientific, Inc., one or all of Novus Scientific Pte. Ltd., Novus Scientific, Inc. and/or

      Novus Scientific AB began




43. Novus Scientific Pte. Ltd., Novus Scientific, Inc. and/or Novus Scientific AB has


       REDACTED




44. Upon information and belief, Novus Scientific Pte. Ltd., Novus Scientific, Inc.

      and/or Novus Scientific AB is




45. Novus Scientific Pte. Ltd., Novus Scientific, Inc. and/or Novus Scientific AB have


       REDACTED

46. Novus Scientific Pte. Ltd., Novus Scientific, Inc. and/or Novus Scientific AB has


       REDACTED


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47. Novus Scientific Pte, Ltd., Novus Scientific, Inc. and/or Novus Scientific AB have,

     by itself/themselves and/or through agents, R P R A P T F D




48   REDACTED



                                      The Patents

49. Between 2006 and December 2008, patent applications subject to the Agreement

     were filed in the United States Patent and Trademark Office ("USPTO") and other

     countries by persons employed by RADI AB (the "2006-2008 Patent Applications").


50. The 2006-2008 Patents were later assigned to RADI AB.


51. In violation of the Agreement, p£               £Q




52. In violation of the Agreement, p^j£0/\0"|~£0




53. In violation of the Agreement, P£0/\0




54. In or about December 2008, the 2006-2008 Patent Applications were assigned to

     Novus Scientific Pte. Ltd.


55. Patents on some of the 2006-2008 Patent Applications have issued.


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56. Between December 2008 and the present, patent applications, continuation

    applications and continuation-in-part applications subject to the Agreement were

    filed in the United States and other countries' patent offices by persons employed by

    Novus Scientific Pte. Ltd. and/or Novus Scientific, Inc. (the "Post-2008 Patent

    Applications").


57. The Post-2008 Patent Applications were later assigned to Novus Scientific Pte. Ltd.


58. In violation of the Agreement, Neither Novus Scientific Pte. Ltd., nor Novus

    Scientific, Inc.,    REDACTED

59. In violation of the Agreement,




60. In violation of the Agreement, f^£[[)y\0~|~ED




61. Patents on some of the Post-2008 Patent Applications have issued.


62. In or about August 2013, all of the 2006-2008 Patent Applications and the Post-2008

    Patent Applications, and any patents issued as a result, were assigned to Novus

    Scientific AB.


                                          COUNT I

                        Breach of Contract - Novus Scientific Pte. Ltd




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63. POLY-MED reasserts and realleges the allegations set forth in paragraphs 1 through

   62 and incorporates the same by reference as though fully set forth here except to the

   extent inconsistent herewith.


64. POLY-MED and Novus Scientific Pte. Ltd. are parties to the Agreement.


65. Under the terms of the Agreement,




66. Novus Scientific Pte. Ltd. has breached the Agreement by




67. Under the terms of the Agreement, Novus Scientific Pte. Ltd. agreed to:

                                                                              ACT
                                                                              ED




68. Novus Scientific Pte. Ltd. has breached the Agreement by failing to




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     REDACTED




69. As a proximate result of Novus Scientific Pte. Ltd.'s breach of contract, POLY-

    MED has been damaged.


                                      COUNT II

                      Breach of Contract - Novus Scientific, Inc.

70. POLY-MED reasserts and realleges the allegations set forth in paragraphs 1 through

   62 and incorporates the same by reference as though fully set forth here except to the

   extent inconsistent herewith.


71. POLY-MED and Novus Scientific, Inc. are parties to the Agreement.


72. Under the terms of the Agreement,




73. Novus Scientific, Inc. has breached the Agreement by         D/\CDTE D




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74. Under the terms of the Agreement, Novus Scientific, Inc. agreed to:
                                                                          RED
                                                                          ACT
                                                                          ED




75. Novus Scientific, Inc. has breached the Agreement by failing to p^£0yH\Q"]~

                                                                   ED




76. As a proximate result of Novus Scientific, Inc.'s breach of contract, POLY-MED has

    been damaged.


                                      COUNT III

        Breach of Contract - Novus Scientific, Inc. and Novus Scientific AB



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77. POLY-MED reasserts and realleges the allegations set forth in paragraphs 1 through

   62 and incorporates the same by reference as though fully set forth here except to the

   extent inconsistent herewith.


78. Upon information and belief, Novus Scientific AB is a wholly owned subsidiary of

    Novus Scientific Pte. Ltd. and Novus Scientific, Inc. is a wholly owned subsidiary of

    Novus Scientific AB.


79. Upon information and belief, Novus Scientific AB and Novus Scientific, Inc. are

    agents of Novus Scientific Pte. Ltd. with respect to the Agreement and p

                                                                            CTED
80. Upon information and belief, Novus Scientific Pte. Ltd. exercises such dominion and

    control over Novus Scientific AB and Novus Scientific, Inc. so as to render Novus

    Scientific AB and Novus Scientific, Inc. mere conduits or instrumentalities of Novus

    Scientific Pte. Ltd.


81. Upon information and belief, Novus Scientific AB and Novus Scientific, Inc. are

    alter egos of Novus Scientific Pte. Ltd.


82. Upon information and belief, Novus Scientific Pte. Ltd. aids, abets and ratifies the

    acts of Novus Scientific AB and Novus Scientific, Inc.


83. Upon information and belief, POLY-MED and Novus Scientific Pte. Ltd. are parties

    to the Agreement.




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84. Under the terms of the Agreement, prn/\ OTP D




85. Novus Scientific Pte. Ltd. has, by itself and through the acts of Novus Scientific AB

    and Novus Scientific, Inc., breached the Agreement by f^£0/^0~[~££0




86. Under the terms of the Agreement, Novus Scientific Pte. Ltd. agreed to: |^£0

                                                                             ACT
                                                                             ED




87. Novus Scientific Pte. Ltd. has, by itself and through the acts of Novus Scientific AB

    and Novus Scientific, Inc., breached the Agreement by failing to p£0y(\0"["

                                                                      ED




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      REDACTED




88. As a proximate result of Novus Scientific AB and Novus Scientific, Inc.'s breaches

      of contract, POLY-MED has been damaged.


                                        COUNT IY

            Tortious Interference With Contract - Novus Scientific Pte. Ltd

89. POLY-MED reasserts and realleges the allegations set forth in paragraphs 1 through

      62 and incorporates the same by reference as though fully set forth here except to the

      extent inconsistent herewith.


90.    POLY-MED and Novus Scientific, Inc. are parties to the Agreement.


91.    Under the terms of the Agreement,




92.    Under the terms of the Agreement, Novus Scientific, Inc. agreed to:

                                                                             ACT
                                                                             ED




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       REDACTED



93.   Novus Scientific Pte. Ltd. has knowledge of the existence of the Agreement.


94.   Novus Scientific Pte. Ltd. intentionally procured breaches of the Agreement by


       REDACTED

95.   Novus Scientific Pte. Ltd. intentionally procured breaches of the Agreement by

      failing to   REDACTED




96.   Novus Scientific Pte. Ltd. is without justification for procurement of the breaches of

      the Agreement.


97.   As a proximate result of Novus Scientific Pte. Ltd.'s actions, POLY-MED has been

      damaged.




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                                          COUNT V

             Tortious Interference With Contract - Novus Scientific, Inc.

98.   POLY-MED reasserts and realleges the allegations set forth in paragraphs 1 through

      62 and incorporates the same by reference as though fully set forth here except to

      the extent inconsistent herewith.


99.   POLY-MED and Novus Scientific Pte. Ltd. are parties to the Agreement.


100. Under the terms of the Agreement, RpnAPTPH




101. Novus Scientific, Inc. has knowledge of the existence of the Agreement.


102. If Novus Scientific, Inc. is not a party to the Agreement, Novus Scientific, Inc.

      intentionally procured breaches of the Agreement by         DACTE D



103. Novus Scientific, Inc. is without justification for procurement of the breaches of the

      Agreement.


104. As a proximate result of Novus Scientific, Inc.'s actions, POLY-MED has been

      damaged.


                                          COUNT VI

              Tortious Interference With Contract - Novus Scientific AB




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105. POLY-MED reasserts and realleges the allegations set forth in paragraphs 1 through

    62 and incorporates the same by reference as though fully set forth here except to the

    extent inconsistent herewith.


106. POLY-MED and Novus Scientific Pte. Ltd. or Novus Scientific, Inc. are parties to

    the Agreement.


107.Under the terms of the Agreement, RPH APTFH




108. Under the terms of the Agreement, Novus Scientific Pte. Ltd. or Novus Scientific,

    Inc. agreed to:   REDACTED




109. Novus Scientific AB has knowledge of the existence of the Agreement.


110. If Novus Scientific AB is not a party to the Agreement, Novus Scientific AB

    intentionally procured breaches of the Agreement by   REDACTED




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111. If Novus Scientific AB is not a party to the Agreement, Novus Scientific AB

      intentionally procured breaches of the Agreement by failing to

                                                                       ED




112. Novus Scientific AB is without justification for procurement of the breaches of the

      Agreement.


113. As a proximate result of Novus Scientific AB's actions, POLY-MED has been

      damaged.


                                        COUNT VII

           Misappropriation of Trade Secrets - S.C. Code § 39-8-10, et. seq.

       Novus Scientific Pte. Ltd., Novus Scientific, Inc. and Novus Scientific AB

114. POLY-MED reasserts and realleges the allegations set forth in paragraphs 1 through

      62 and incorporates the same by reference as though fully set forth here except to the

      extent inconsistent herewith.


1,5    REDACTED


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116. Novus Scientific Pte. Ltd., Novus Scientific, Inc. and/or Novus Scientific AB

    acquired POLY-MED's trade secrets by improper means and/or knew or had reason

    to know POLY-MED's trade secrets were acquired by improper means.


117. Novus Scientific Pte. Ltd., Novus Scientific, Inc. and/or Novus Scientific AB used

    and disclosed POLY-MED's trade secrets p^[£[])/\0TED




118. Novus Scientific Pte. Ltd., Novus Scientific, Inc. and/or Novus Scientific AB

    disclosed and/or used POLY-MED's trade secrets without POLY-MED's express or

    implied consent.


119. At the time of disclosure or use of POLY-MED's trade secrets, Novus Scientific Pte.

    Ltd., Novus Scientific, Inc. and/or Novus Scientific AB knew or had reason to know

    that its/their knowledge of the trade secrets: (a) was derived from or through a

    person who had utilized improper means to acquire POLY-MED's trade secrets; (b)

    was acquired under circumstances giving rise to a duty to maintain the secrecy or

    limit the use of the POLY-MED's trade secrets; and/or, (c) was derived from or

    through a person who owed a duty to POLY-MED to maintain the secrecy or limit

    the use of POLY-MED's trade secrets.


120. Novus Scientific Pte. Ltd., Novus Scientific, Inc. and/or Novus Scientific AB's

    misappropriation of POLY-MED's trade secrets was willful.


121. As a proximate result of Novus Scientific Pte. Ltd., Novus Scientific, Inc. and/or

    Novus Scientific AB's action, POLY-MED has been damaged.




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                                     COUNT VIII

     Unfair or Deceptive Methods, Acts or Practices in the Conduct of Trade or

                       Commerce - S.C. Code § 39-5-10, et. seq.

      Novus Scientific Pte. Ltd., Novus Scientific, Inc. and Novus Scientific AB

122.POLY-MED reasserts and realleges the allegations set forth in paragraphs 1 through

   62 and incorporates the same by reference as though fully set forth here except to the

   extent inconsistent herewith.


123. Novus Scientific Pte. Ltd., Novus Scientific, Inc. and Novus Scientific AB are

    engaged in trade or commerce in South Carolina affecting the people of this state.


124. Novus Scientific Pte. Ltd., Novus Scientific, Inc. and Novus Scientific AB are

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                                                                                      TE
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125. Novus Scientific Pte. Ltd., Novus Scientific, Inc. and Novus Scientific AB have

    misappropriated POLY-MED's trade secrets by




126. Novus Scientific Pte. Ltd., Novus Scientific, Inc. and Novus Scientific AB have


     REDACTED

127. Novus Scientific Pte. Ltd., Novus Scientific, Inc. and/or Novus Scientific AB's

    actions had the capacity, effect or tendency to deceive POLY-MED.



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128.Novus Scientific Pte. Ltd., Novus Scientific, Inc. and Novus Scientific AB's

    methods, acts and practices are unfair and deceptive.


129.Novus Scientific Pte. Ltd., Novus Scientific, Inc. and Novus Scientific AB's unfair

    and deceptive methods, acts and practices have an impact on the public interest in

    LH;LT   REDACTED

130. The public interest is also impacted by Novus Scientific Pte. Ltd., Novus Scientific,

    Inc. and Novus Scientific AB's actions




131.Novus Scientific Pte. Ltd., Novus Scientific, Inc. and Novus Scientific AB's unfair

    and deceptive methods, acts and practices are ongoing and have the potential for

    repetition and are likely to affect future consumers.


132.Novus Scientific Pte. Ltd., Novus Scientific, Inc. and Novus Scientific AB's use or

    employment of the unfair or deceptive methods, acts or practices were and are

    knowing and willful.


133. Novus Scientific Pte. Ltd., Novus Scientific, Inc. and Novus Scientific AB knew or

    should have known that their conduct was in violation of S.C. Code § 39-5-20.


134. As a proximate result of Novus Scientific Pte. Ltd., Novus Scientific, Inc. and/or

    Novus Scientific AB's action, POLY-MED has been damaged.


WHEREFORE, POLY-MED respectfully requests that this Court:




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1. Determine the amount due POLY-MED pursuant to Count I of its Complaint and
   enter Judgment for POLY-MED against Novus Scientific Pte. Ltd. for such amount,
   plus interest and costs;

2. Determine the amount due POLY-MED pursuant to Count II of its Complaint and
   enter Judgment for POLY-MED against Novus Scientific, Inc. for such amount, plus
   interest and costs;

3. Determine the amount due POLY-MED pursuant to Count III of its Complaint and
   enter Judgment for POLY-MED against Novus Scientific, Inc. and Novus Scientific
   AB for such amount, plus interest and costs;

4. Determine the amount due POLY-MED pursuant to Count IV of its Complaint and
   enter Judgment for POLY-MED against Novus Scientific Pte. Ltd. for such amount,
   plus interest and costs;

5. Determine the amount due POLY-MED pursuant to Count V of its Complaint and
   enter Judgment for POLY-MED against Novus Scientific, Inc. for such amount, plus
   interest and costs;

6. Determine the amount due POLY-MED pursuant to Count VI of its Complaint and
   enter Judgment for POLY-MED against Novus Scientific AB for such amount, plus
   interest and costs;

7. Determine the amount due POLY-MED pursuant to Count VII of its Complaint and
   enter Judgment for POLY-MED against each of the Novus Entities for such amount,
   plus interest and costs;

8. Determine the amount due POLY-MED pursuant to Count VIII of its Complaint and
   enter Judgment for POLY-MED against each of the Novus Entities for such amount,
   plus interest and costs;

9. Award POLY-MED reasonable attorney's fees pursuant to S.C. Code § 39-8-80;

10. Award POLY-MED reasonable attorney's fees pursuant to S.C. Code § 39-5-140(a);

11. Award POLY-MED three times the actual damages sustained pursuant to S.C. Code
   § 39-5-140(a);




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12. Issue a permanent injunction, in a form to be determined by this Court, restraining

   each of the Novus Entities, and anyone acting on their behalf, from:


   12.1.       Using or disclosing any of POLY-MED's trade secrets; or


    122         REDACTED

13. Issue an order declaring that the Agreement is terminated;

14. Issue an order assigning the 2006-2008 Patent Applications and the Post-2008 Patent
   Applications, and any patents issued as a result, to POLY-MED; and,

15. Grant all such other relief as this Court deems appropriate.


POLY-MED, INC. DEMANDS A TRIAL BY JURY ON ALL COUNTS SO
TRIABLE.


                                              Respectfully submitted,

                                              MCNAIR LAW FIRM, P.A.


                                              s/Bernie W. Ellis
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                                              Greenville, South Carolina 20602
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                                              Fax (864)271-4015
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                                              Attorneys for the Plaintiff

Greenville, South Carolina
May 6, 2015                                                    <




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